Case 1:23-mj-00838-CLP Document 1 Filed 09/19/23 Page 1 of 3 PagelD #: 1

AB:RWN

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

wee eee eee ee eee ee eee eee eee X
UNITED STATES OF AMERICA COMPLAINT
- against - (18 U.S.C. § 472)
EDNA ARDALES FRANCO, Case No. 28-MJ-838
Defendant.
we ee eee eee eee X

EASTERN DISTRICT OF NEW YORK, SS:

JENNIFER MARIE SPINELLI, being duly sworn, deposes and states that she is a
Task Force Officer with the Federal Bureau of Investigation, duly appointed according to law
and acting as such.

On or about September 19, 2023, within the Eastern District of New York and
elsewhere, the defendant EDNA ARDALES FRANCO, with intent to defraud, did pass, utter,
publish, sell, and keep in her possession falsely made, forged, counterfeited, and altered
obligations of the United States, to wit, $2,500 in $100 denominations of counterfeit United
States currency.

(Title 18, United States Code, Section 472)

The source of your deponent’s information and the grounds for her belief are as

follows:!

! Because the purpose of this Complaint is to set forth only those facts necessary to
establish probable cause to arrest, I have not described all the relevant facts and circumstances of
which I am aware.
Case 1:23-mj-00838-CLP Document1 Filed 09/19/23 Page 2 of 3 PagelD #: 2

1. lam a Task Force Officer with the Federal Bureau of Investigation
(“FBI”). I have been a law enforcement officer for approximately 17 years and a Task Force
Officer with the FBI for approximately 8 years.

2 I am familiar with the facts and circumstances set forth below from,
among other things, my participation in the investigation; my review of the investigative file;
reports of other law enforcement officers involved in the investigation; and conversations with
other law enforcement officers.

3. On or about September 19, 2023, the defendant EDNA ARDALES
FRANCO arrived at John F. Kennedy International Airport (“JFK”) in Queens, New York, on
Flight PR126 from Manila, the Philippines.

4. The defendant EDNA ARDALES FRANCO was selected for secondary
screening and inspection of her baggage by Customs and Border Protection (“CBP”). During a
search of the defendant’s checked luggage, a CBP officer discovered, inside of a burgundy purse
in the defendant’s checked luggage, $2,500 in $100 denominations inside of a green envelope
with the words “FAKE CURRENCIES SAMPLES” written on it. On closer inspection, the
notes appeared to be counterfeit.

5. CBP called the Secret Service, and a Secret Service Agent who was
trained in the examination and detection of genuine obligations of the United States examined
the above-described currency and determined that it was counterfeit.

6. During a search of the defendant’s luggage, a CBP officer also discovered,
among other items, one check purported to be issued by Hipercapital Finance Offshore Bank
Panama S.A., made out to “Edna Ardales Franco” in the sum of “FIVE HUNDRED MILLION

UNITED STATES DOLLARS ONLY”; and a book containing several images of different
Case 1:23-mj-00838-CLP Document 1 Filed 09/19/23 Page 3 of 3 PagelD #: 3

denominations of Philippines currency and, beneath each image of a denomination of Philippines
currency, a typed description of the figure present on that denomination, any watermark or bank
seal present on that denomination, and the color of ink used for that denomination.

hs The defendant EDNA ARDALES FRANCO told a CBP officer, in sum
and substance, that she had seized the aforementioned counterfeit United States currency and
planned on turning it over to the United States government. She further stated, in sum and
substance, that she intended to meet with leaders at the United Nations and provide money to the
United Nations.

WHEREFORE, your deponent respectfully requests that the defendant EDNA
ARDALES FRANCO be dealt with according to law.

pt Ae. AT

JENNIFER MARIE SPINELLI
Task Force Officer
Federal Bureau of Investigation

Sworn to before me this
i fh... day of September 2023
